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November 21, 2024

VIA ECF AND EMAIL
Hon. Analisa Torres
United States District Judge
United States District Court, Southern District of New York
500 Pearl Street
New York, NY 10007
Torres_NYSDChambers@nysd.uscourts.gov

               Re: Ismailov et al. v. Hutseriev et al., 1:24-cv-03287-AT (S.D.N.Y)

Dear Judge Torres:

       We write on behalf of Plaintiffs in the above-captioned matter and pursuant to Rules
I.A-B and III.K of Your Honor’s Individual Practices. As the Court may be aware, on November
19, 2024, Plaintiffs filed their opposition papers (ECF 84-90, with exhibits) to: (i) the Sberbank
Defendants’ Motion to Dismiss (ECF 52); (ii) Defendant Hutseriev’s Motion to Dismiss (ECF
79); and (iii) the Sberbank Defendants’ Motion for Sanctions (ECF 69; and collectively with ECF
52 and ECF 79, “Defendants’ Motions”).

        Plaintiffs request that the Court schedule oral argument for Defendants’ Motions. By their
motion papers, Defendants already requested oral argument for their Motions to Dismiss. ECF
50, 77. The Sberbank Defendants did not request oral argument for their Sanctions Motion.
Plaintiffs join Defendants’ request for oral argument for the Motions to Dismiss and request oral
argument for the Sberbank Defendants’ Motion for Sanctions.

       We thank the Court for its time and consideration of this matter.

                                                                Respectfully submitted,

                                                                 /s/ Jake Nachmani
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